          Case 2:20-cv-00824-GAM Document 41 Filed 06/02/21 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SUSAN LUDWIG, et al.                               :
                                                   :
     v.                                            :          CIVIL ACTION NO. 20-0824
                                                   :
SPEEDWAY LLC                                       :


                                          ORDER

     This 2nd of June, 2021, it is hereby ORDERED as follows:

  1. Plaintiffs’ motion for leave to withdraw as counsel on behalf of Plaintiffs Ludwig and

     Carrasquillo, ECF 37, is GRANTED.

  2. It is further ORDERED that Hepworth, Gershbaum & Roth, PLLC, together with

     Weisberg Cummings P.C. shall serve a copy of this Order upon Ms. Ludwig and

     Carrasquillo, and file proof of service on the docket.

  3. Defendant’s motion to dismiss Plaintiffs Ludwig and Carrasquillo, ECF 34, is

     GRANTED.

  4. Plaintiffs Ludwig and Carrasquillo are hereby DISMISSED without prejudice.

  5. The Clerk of the Court is directed to mail a copy of this Order to Ms. Ludwig and

     Carrasquillo.



                                                     /s/ Gerald Austin McHugh
                                                   United States District Judge
